Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 1 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 2 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 3 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 4 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 5 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 6 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 7 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 8 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 9 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 10 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 11 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 12 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 13 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 14 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 15 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 16 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 17 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 18 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 19 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 20 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 21 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 22 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 23 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 24 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 25 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 26 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 27 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 28 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 29 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 30 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 31 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 32 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 33 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 34 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 35 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 36 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 37 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 38 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 39 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 40 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 41 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 42 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 43 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 44 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 45 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 46 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 47 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 48 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 49 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 50 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 51 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 52 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 53 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 54 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 55 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 56 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 57 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 58 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 59 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 60 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 61 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 62 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 63 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 64 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 65 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 66 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 67 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 68 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 69 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 70 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 71 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 72 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 73 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 74 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 75 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 76 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 77 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 78 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 79 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 80 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 81 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 82 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 83 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 84 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 85 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 86 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 87 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 88 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 89 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 90 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 91 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 92 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 93 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 94 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 95 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 96 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 97 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 98 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 99 of 143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 100 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 101 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 102 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 103 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 104 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 105 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 106 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 107 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 108 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 109 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 110 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 111 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 112 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 113 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 114 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 115 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 116 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 117 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 118 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 119 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 120 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 121 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 122 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 123 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 124 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 125 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 126 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 127 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 128 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 129 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 130 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 131 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 132 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 133 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 134 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 135 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 136 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 137 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 138 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 139 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 140 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 141 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 142 of
                                      143
Case 1:23-cv-23004-JB Document 58-3 Entered on FLSD Docket 09/24/2024 Page 143 of
                                      143
